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                  UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN

Ron Mercer, Kristi Mercer, Ned
Newhof, Rinda Newhof, and The Fair
Housing Center of West Michigan,

                    Plaintiffs,
                                             Case No. 21-11336
              v.
                                             Hon. Nancy G. Edmunds
Edward Rose & Sons, Inc. d/b/a The           United States District Judge
Crossings Apartments and Edward
Rose Company, severally and jointly,

                    Defendants.



     STIPULATED ORDER TO EXTEND ALL DATES FOR 60 DAYS

      This matter comes before the Court upon the stipulation of counsel for all

parties, wherein the parties hereby stipulate and agree as follows:

      WHEREAS, pursuant to the August 25, 2021 Scheduling Order, the deadline

for the parties to complete discovery is February 7, 2022; and the deadline for the

parties to file dispositive motions is March 21, 2022; and

      WHEREAS, the parties have been cooperating to resolve disagreements in

discovery; and

      WHEREAS, the holidays and other complications have impeded the parties’

abilities to schedule key depositions; and
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      WHEREAS, the parties being agreeable to extend discovery and the deadline

for the dispositive motion cut-off for an additional 60 days, as well as all other dates

set by the Scheduling Order by 60 days;

      THEREFORE, IT IS HEREBY ORDERED that the deadline for the parties

to complete fact discovery is extended to April 8, 2022 and the dispositive motion

deadline is extended to May 20, 2022.

       Pretrial Order Due September 6, 2022; Final Pretrial Conference set for

September 13, 2022; and Trailing Trail Docket set for October 4, 2022 @ 9:00

am

      IT IS SO ORDERED.

                                        ______________________________
                                        Nancy G. Edmunds
Dated: December 20, 2021                United States District Court Judge




STIPULATED AS TO FORM AND SUBSTANCE:

 s/ Robin B. Wagner                          s/ Haba K. Yono (by consent)
ROBIN B. WAGNER (P79408)                    MATTHEW S. DISBROW (P65378)
JENNIFER L. LORD (P46912)                   JENNIFER L. MUSE (P81208)
Pitt, McGehee, Palmer,                      HABA K. YONO (P81114)
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